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IN THE UNITED sTATEs DISTRICT CoURT F\lf-D 13"’ - D-C'
FoR THE WESTERN DISTRICT oF TENNESSEE l __
WESTERN DlvlsloN 05 JUN 23 AH ll» be

 

OBERT H. UE §§lji.“‘ji_i&
%LEHK. U.S. Di-`J:, CT.

UNITED STATES OF AMERICA, W_D, 09 TN, MEMPHTS
Plaintiff,

VS. CR. NO. 05-20078

TIFFANY MAXWELL,
Defendant.

 

ORDER GRANTING DEFENDANT’S
MOTION TO CONTINUE REPORT SETTING

 

This cause came on upon the motion of the Defendant to continue the report setting
scheduled for June 24, 2005 at 9:00 a.m. For good cause shown, the Court hereby grants the
Defendant’s motion and waives the Defendant and counsel’s presence at this setting.

IT rs So oRDERED this 32 day ofJune, 2005.

wm

PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

  

 
  

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Honorable J on McCalla
US DISTRICT COURT

